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1                           UNITED STATES DISTRICT COURT
2                              DISTRICT OF PUERTO RICO

 3   UNITED STATES OF AMERICA,

 4        Plaintiff,
                                                Crim. No. 05-429 (JAF)
 5        v.

 6   DAVID ALBERTO PAGAN-CIURO (34),

 7        Defendant.



8                                       O R D E R

 9                                         I.
10
11        The Defendant, David Alberto Pagán-Ciuro, is charged, along with

12   sixty-five other individuals, in a one-count Indictment for having

13   joined    a   conspiracy   to   possess   with   intent     to   distribute   five

14   kilograms or more of cocaine, fifty grams or more of crack cocaine,

15   one kilogram or more of heroin, and measurable amounts of marihuana.

16   The facts of the case took place in the town of Santa Isabel and the

17   city of Ponce, both located in the Southern part of the island of

18   Puerto Rico.

19        The Indictment alleges that the members of the conspiracy

20   purchased and sold narcotics from different locations in and around

21   Santa Isabel and Ponce, including several wards or “barrios” and

22   housing projects.      Drug distribution points were established which

23   could only be operated by authorization from the leaders of the

24   conspiracy.     The operation of these drug distribution points would
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1    pay rental to the leaders in exchange for their franchise-type

2    operations in the distribution locations.

3         The Indictment also alleges that the members of the conspiracy

4    would possess firearms in order to protect themselves, the narcotics,

5    and the drug proceeds from other competing drug organizations. There

6    are specific allegations that firearms were possessed within one-

7    thousand feet from public schools.       The Indictment also alleges that

8    this was a violent organization that would engage in beatings and the

9    killing of individuals intervening with the swift operation of the

10   narcotics distribution organization.

11        Defendant   David    Alberto   Pagán-Ciuro      is    described     in   the

12   Indictment as a runner and drug processor.                He is charged in a

13   specific overt act with having possessed a loaded nine millimeter

14   pistol with two magazines.        He is also described as having drug

15   dealings with one of the leaders and organizers, Jason Reyes-Miranda,

16   regarding the purchase of crack cocaine.

17        The areas of Santa Isabel and Ponce have been the object of

18   intense law-enforcement efforts by both Commonwealth and Federal law-

19   enforcement authorities. The court takes judicial notice of the fact

20   that large-scale narcotics trafficking and related violent incidents

21   are a common occurrence in this area of Southern Puerto Rico.

22        The Defendant has had several incidents involving criminal

23   conduct, ranging from arrests for controlled substances and illegal

24   firearms offenses to a felony charge of domestic violence.                    The
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1    Pretrial Services Department conducted a background investigation on

2    Defendant and recommended to the court that he be detained without

3    bail, inasmuch as he represents a danger to the safety of the

4    community, there being no condition of combination of conditions that

5    would eliminate that risk or the reasonable risk of failure to appear

6    at future judicial proceedings.

7           An Initial Detention Hearing was held before a magistrate judge

8    of this court.       Counsel for the Defendant conceded to the magistrate

9    judge    that   as    of   the   date   in    which   that     hearing   was   held,

10   December 14, 2005, he had no evidence to rebut the presumption that

11   the Defendant would flee or pose a danger to another person or the

12   community.      The presiding magistrate found the Defendant to pose a

13   danger to persons or the community in the context of the Bail Reform

14   Act.

15                                           II.

16           The Defendant requested a de-novo bail hearing which was held on

17   March 27, 2006. At the hearing, the Defendant presented no evidence.

18   The government presented the testimony of a police officer and

19   proceeded to proffer some of the information appearing from the

20   Indictment, the fact that there are several informants or cooperating

21   witnesses ready to testify at trial in support of the charged

22   conduct, and also the fact that during an execution of a search

23   warrant conducted by the Puerto Rico police during the period of the

24   charged conspiracy, Defendant was found to be in possession of a
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1    stolen nine-millimeter pistol and was observed by a police agent

2    distributing narcotics and associating himself with one of the

3    leaders in this conspiracy, Luis E. Santiago-Báez.

4         It is not difficult to conclude for the purposes of bail

5    analysis that the sixty-six known members of this conspiracy, in

6    operation from 1998 until 2005, engaged in narcotics trafficking in

7    kinds and amounts of narcotics that trigger a statutory minimum

8    imprisonment term of at least ten years with a maximum of life

9    imprisonment.     When one further considers Defendant’s history of

10   arrests   and    convictions,   his    association      with    leaders      of    the

11   conspiracy, and his possession of a stolen firearm, the rebuttable

12   presumptions     established    by    law   are   strengthened       against       the

13   Defendant.

14        In   this    case,   the   Defendant      has    advanced     no      facts    or

15   circumstances to this court that would detract from the presumption

16   that bail should be denied.      Evidently, the Defendant poses a danger

17   to the safety of the community where he lives and to persons who may

18   testify as witnesses in this case.             The court will not take any

19   chance of harm to persons or the community motivated by the criminal

20   element behind this huge conspiracy that has greatly affected the

21   quality of life and the tranquility of Santa Isabel and Ponce.

22        The Defendant will remain detained without bail pending trial.

23        IT IS SO ORDERED.

24        San Juan, Puerto Rico, this 27th day of March, 2006.
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1                                          S/José Antonio Fusté
2                                           JOSE ANTONIO FUSTE
3                                       Chief U. S. District Judge
